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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                                Case Nos. 08-CR-0270(5) (PJS/JJK)
                                                                    11-CV-0129 (PJS)
                        Plaintiff,

 v.                                                                   ORDER

 BRIAN KEITH SCOTT,

                        Defendant.

       Brian Keith Scott, pro se.

       Michael L. Cheever, Assistant United States Attorney, UNITED STATES
       ATTORNEY’S OFFICE, for plaintiff.

       Defendant Brian Scott was one of six tax protesters indicted for various tax-related

crimes. Two of Scott’s co-defendants pleaded guilty, one was a fugitive, and two went to trial

with him. The jury convicted Scott and his two co-defendants on all charges, and Scott was

sentenced to 78 months in prison and three years of supervised release. This matter is now

before the Court on Scott’s motion, pursuant to 28 U.S.C. § 2255, to vacate, set aside, or correct

his sentence. For the reasons stated below, the motion is denied. Because the record

conclusively demonstrates that Scott is not entitled to relief, no hearing is necessary. 28 U.S.C.

§ 2255(b); Noe v. United States, 601 F.3d 784, 792 (8th Cir. 2010).

       Scott raises three grounds in his § 2255 motion: First, Scott claims that he was denied his

Sixth Amendment right to counsel when the Court permitted him to proceed pro se. Second,

Scott argues that he received ineffective assistance of counsel from the time his counsel was
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initially appointed until Scott began representing himself. Finally, Scott claims that his standby

counsel was ineffective.1 All of Scott’s arguments are frivolous.

                                          A. Ground One

       Scott’s conduct throughout the underlying proceedings was manipulative and seemed

intended more to make a political statement or create grounds for appeal than to defend the

charges against him. For example, Scott repeatedly complained that he was in “want of counsel”

and took the position — as he does now in his § 2255 motion — that his pro se status was forced

on him by the Court.2 See, e.g., Docket No. 65-1. Scott was — and is — incorrect. As the

record conclusively demonstrates, Scott’s pro se status was entirely the product of Scott’s own

choices. On the one hand, Scott refused to accept representation from any attorney who would

be compensated by the government, on the ground that such an attorney would have a conflict of

interest in representing him against charges brought by the government. On the other hand,

Scott insisted that he could not find a private attorney willing to represent him. The Court

repeatedly challenged Scott to suggest a third option, but Scott was never able to do so, other

than to suggest that his trial be postponed indefinitely — perhaps for years — until Scott

somehow was able to retain private counsel.


       1
        Scott’s § 2255 motion does not include a separately numbered third ground; instead,
Scott argues that his standby counsel was ineffective as part of Ground One of his motion.
Because whether Scott received ineffective assistance of standby counsel is analytically distinct
from whether Scott knowingly and voluntarily waived his right to counsel, the Court treats these
as separate grounds.
       2
        It appears to the Court that Scott could have, but did not, raise this argument in his direct
appeal. See United States v. Beale, 620 F.3d 856, 866-67 (8th Cir. 2010) (considering, on direct
appeal, defendant’s argument that district court erroneously permitted him to proceed pro se).
The government does not oppose Ground One on this basis, however, so the Court addresses it
on the merits.

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       Specifically, on August 21, 2008, shortly after Scott’s initial appearance, the Court

appointed attorney Arthur Martinez to represent him. See Docket No. 21. Two weeks later, on

September 4, Scott sent a letter to Martinez terminating the representation because (in Scott’s

opinion) the fact that Martinez was being compensated by the government created a conflict of

interest. Docket No. 43 at 2. Scott filed a copy of this letter with the Court. See Docket No. 43.

       At the September 17, 2008 arraignment hearing, Magistrate Judge Jeffrey J. Keyes

inquired about Scott’s objections to Martinez. Docket No. 89 at 5-6. Judge Keyes explained

that if there was any problem unique to Martinez, Judge Keyes could appoint another attorney to

represent Scott. Id. at 6. Scott clarified that his only objection to Martinez was that Martinez

was being compensated by the government. Id. Judge Keyes then explained that, if Scott did

not want Martinez to represent him, there would be a period of time during which he would be

proceeding pro se. Id. at 7. Judge Keyes also warned Scott that the case would be complex, that

proceeding pro se was a bad idea, and that the Court would not provide him with legal advice or

tell him how to proceed. Id. at 7-9, 17.

       After Judge Keyes finished his inquiry, the prosecutor asked some followup questions,

advising Scott that he had a constitutional right to counsel, id. at 11; that if he could not afford an

attorney, he had the right to have one appointed for him, id.; that if he did not retain his own

attorney and refused court-appointed counsel, he would have to proceed pro se because the case

would not be put on hold, id. at 12-14; that neither the judge nor the prosecutor would help him

with his case, id. at 15-16; and that it would be better for him to have counsel than to proceed pro

se, id. at 16. At no point did Scott express any willingness to be represented by Martinez (or any




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other court-appointed lawyer); to the contrary, Scott said that he would object to any court-

appointed attorney. Id. at 18.

       After the arraignment, Judge Keyes issued a written order granting Scott’s motion to

proceed pro se (which Martinez had filed on Scott’s behalf). See Docket No. 53. Scott filed an

objection, contending that he had not asked to proceed pro se and that he was still in want of

counsel. Docket No. 65. The Court overruled Scott’s objection, explaining that Scott’s refusal

to accept court-appointed counsel and his failure to retain a private attorney necessarily meant

that he was proceeding pro se by his own choice. Docket No. 72 at 2.

       At the November 26, 2008 final pretrial conference, the Court again inquired about

Scott’s pro se status and conducted a second Faretta hearing.3 Docket No. 369 at 6-30. The

Court informed Scott that he had the right to be represented by an attorney and that if he could

not afford one the Court would appoint one for him at no charge, id. at 6; explained the nature of

the charges against him and the possible penalties he was facing, id. at 12-18; inquired about

Scott’s level of education and his experience with the legal system, id. at 10, 18-19; explained

that Scott could not expect any legal advice or assistance from the Court, id. at 24; advised Scott

that he would be expected to follow all applicable rules, id. at 24-26; repeatedly warned Scott

about the dangers and difficulties of self-representation, id. at 24-25, 28-29; explained the

limited role that standby counsel would serve, id. at 27-28; and urged Scott to permit Martinez to

represent him, id. at 29.

       Scott confirmed that he did not want Martinez to represent him. Id. at 19-20. Scott also

confirmed that he had no problem with Martinez other than the fact that Martinez was being paid


       3
        See Faretta v. California, 422 U.S. 806 (1975).

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by the government. Id. at 20. Scott admitted that he knew that any lawyer appointed by the

Court would be compensated by the government and stated that he would object to

representation by any court-appointed attorney. Id. at 20. The Court explained to Scott that his

concern about a purported conflict of interest was unfounded:

                I have tried many cases involving federal public defenders and
                CJA attorneys paid for by the federal government. They on the
                whole are excellent. They on the whole are very vigorous and
                skillful in trying to advocate for their clients. I have never in my
                life seen a hint that the fact that they are paid for by the federal
                government has affected their representation.

Id. at 28-29.

       After this extensive colloquy — during which Scott was explicitly warned that the

practical effect of his refusal to accept representation from a court-appointed attorney would be

that he would have to proceed pro se — Scott confirmed that he did not want Martinez or any

other court-appointed lawyer to represent him. Id. at 29-30. Under these circumstances, Scott’s

waiver of his Sixth Amendment right to counsel was knowing, intelligent, and voluntary. See

Jones v. Norman, 633 F.3d 661, 667 (8th Cir. 2011) (“The key inquiry in determining whether a

Faretta request was knowingly and voluntarily made is whether the accused was made

sufficiently aware of his right to have counsel and of the possible consequences of a decision to

forego the aid of counsel.” (citations and quotations omitted)). Scott is not entitled to relief on

Ground One.

                                          B. Ground Two

       Scott next contends that Martinez’s representation of him from August 21, 2008 (the date

of Martinez’s appointment) until September 17, 2008 (the date Martinez was permitted to

withdraw) was deficient. Specifically, Scott contends that Martinez failed to investigate the

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case, failed to meet with Scott, and failed to explain that there was no real conflict of interest

inherent in Martinez’s receipt of compensation from the government.

        To prevail on a claim of ineffective assistance of counsel, Scott must show that (1) his

counsel’s performance fell below an objective standard of reasonableness and (2) there is a

reasonable probability that, but for his counsel’s errors, the result of the proceeding would have

been different. Strickland v. Washington, 466 U.S. 668, 687, 694 (1984). The reasonableness of

counsel’s conduct should be considered in light of the defendant’s own statements and actions.

Id. at 691.

        Just two weeks after Martinez was appointed (and only ten days after Martinez filed a

notice of appearance), Scott informed Martinez that he did not want Martinez as his counsel

because he believed that any government-compensated attorney would have a conflict of

interest. The Court doubts that Martinez could be considered ineffective for failing to complete

a full-blown investigation of Scott’s case in the short time before Scott fired him. And even after

being fired by Scott, Martinez took steps to protect Scott’s interests: Martinez sent Scott the

discovery that the government had provided, Docket No. 89 at 5; Martinez moved for Scott to be

allowed to proceed pro se, Docket No. 44; and Martinez filed four motions on Scott’s behalf

seeking discovery and severance, Docket Nos. 45-48. Under the circumstances, Martinez’s

conduct was reasonable and professional.

        But even if Martinez’s performance could be considered deficient in some respect, Scott

cannot show prejudice. As discussed above, Scott repeatedly objected to Martinez’s

representation and in fact informed the Court that he was terminating Martinez ab initio.

See Docket No. 43. In addition, the Court advised Scott about the nature of the charges and


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penalties he was facing, informed him that there was no real conflict of interest, and urged him to

accept representation. Despite these multiple warnings, Scott refused to accept Martinez’s help;

in fact, Scott even objected to Martinez’s appointment as standby counsel and refused to allow

Martinez to sit next to him at counsel table. See Docket No. 369 at 27, 31. Scott also refused to

adopt the motions that Martinez had filed on his behalf before the representation was terminated.

Docket No. 53 at 3-4; Docket No. 89 at 23-24. Given Scott’s repeated and emphatic refusal to

accept Martinez’s help, there is no reason to believe that Martinez’s alleged failure to investigate

the case or meet with Scott in the short period of time before Scott began representing himself

had any effect on the outcome of Scott’s case. Scott is not entitled to relief on Ground Two.

                                         C. Ground Three

       Finally, Scott argues that Martinez’s assistance as standby counsel was ineffective. As

discussed above, Scott knowingly and voluntarily invoked his right to self-representation.

Having done so, he cannot complain that he did not receive effective assistance of counsel.

There is no constitutional right to any standby counsel, much less effective standby counsel. See

United States v. Foster, 230 F.3d 1364 (Table), 2000 WL 1511762, at *1 (8th Cir. Oct. 12, 2000)

(there is no constitutional right to standby counsel and a defendant who invokes his right to self-

representation cannot claim ineffective assistance of standby counsel); cf. Faretta, 422 U.S. at

834 n.46 (“whatever else may or may not be open to him on appeal, a defendant who elects to

represent himself cannot thereafter complain that the quality of his own defense amounted to a

denial of ‘effective assistance of counsel’”); Noe, 601 F.3d at 792 (“Where there is no

constitutional right to counsel there can be no right to effective assistance of counsel.” (citation

and quotations omitted)).


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       Moreover, Scott’s argument that he received ineffective assistance from Martinez is

absurd. As described at length, Scott made clear that he would have nothing whatsoever to do

with Martinez or any other attorney compensated by the government. Scott’s two co-defendants

— who shared Scott’s anti-government views and also chose to represent themselves — sat near

their standby counsel and sought advice from their standby counsel on several occasions. Alone

among the defendants, Scott shunned his standby counsel and refused even to sit near him. How

Martinez was supposed to provide assistance to Scott when Scott refused to be near him is a

mystery.

       This Court urged Scott — again and again — to accept representation from a court-

appointed attorney. Instead of permitting a skilled and experienced attorney to defend him at

trial, Scott chose to make a political statement, sitting in stony silence and refusing to allow his

standby counsel even to sit near him. Scott’s legal rights were scrupulously protected, and he

has no one to blame but himself for his predicament. His § 2255 motion is denied.

                                              ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

       1.      Defendant Brian Keith Scott’s 28 U.S.C. § 2255 motion to vacate, set aside, or

               correct sentence [Docket No. 366 in No. 08-CR-0270(5)] is DENIED.

       2.      No certificate of appealability will issue.

 Dated: May 2 , 2011                                s/Patrick J. Schiltz
                                                    Patrick J. Schiltz
                                                    United States District Judge




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